       Case 8:06-cr-00349-JSM-MAP Document 196 Filed 04/06/07 Page 1 of 6 PageID 405
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER: 8:06-cr-349-T-30MAP
                                                              USM NUMBER: 48888-018
VS.



ANTWON HALL
alWa ANTWAN HALL
                                                              Defendant's Attorney: Rafael Echemendia, rer.

THE DEFENDANT:

 X pleaded guilty lo count@ ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court
-was found guilty on count@) after a plea of not guilty.
TITLE & SECTION                    NATURE O F OFFENSE                           OFFENSE ENDED

                                   Conspiracy to Possess With Intent to      March 8, 2006                          One
                                   Distribute and to Distribute Five Hundred
                                   (500) Grams or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment        The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count@)
- Count(s) (is)(are) dismissed on the motion of the United States.
I T IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
oT name, residence, ur mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: April 5, 2007




                                                                                $?ko&fl!4b
                                                                                UM[    ED STATES DISTRICT JUDGE



                                                                                DATE: April   3,        ,007
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A 0 2453 (Rev 06/05)Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendmt :          ANTWON HALL                                                                                    Judgmcnt - P;qy 2of 6--
Case No.:           8:06-cr-349-T-30MAP

                                                                IMPRISONMENT

        After considering the advisory sentencing guicleliues a n d all of the factors ideiltiliecl in Title 18 I!.S .C . 2 5
3553(a)(l)-(7),the court finds that the sentence imposed is sufficient, but no1 greater tbaii irecesmry, to complj \villi
the statutory purposes of sentencing.


         The clei'cndniit is Irereby c o i ~ n r i t t e dto the custocly of the United St:ites Bureau of Prisons to be iinprisonctl
Sol- a total term of FORTY-SIX (46) MONTI-IS as to Count One 01' the Ii~cliciir~c~it.



 X The court makes the following reco~imendationsto the Bureau of Prisons: The defi.ndmt shall he placed at FCI Colcni:~~i
('FL), if possible.


X The clefenda~ltis renlanclecl to the custody 01' the Uniled Stalcs h/Iarshal.
- The drkndant sllall surrender to the United States Marshal for h i s district.

          - at - a.rn.1p.m. o n -.
          - as nolilied by rlle United States Marshal.

- Thc rlel'eudant shall su~.rclrder.for scrvice of' sentence at the institution designated by the 13urcai1of 1'1.isons.

          - bzfole 2 p.m. on -.
          - as notilied by the United States Marshal.
          - as notified by the Probation or ]'retrial Services Ol'l'ice.




                                                                        RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                      to

- at                                                                                 , wid1 a certified copy of this judgment




                                                                           By:
                                                                                              Deputy Unitccl Stales Marshal
      Case 8:06-cr-00349-JSM-MAP Document 196 Filed 04/06/07 Page 3 of 6 PageID 407
A0 245l3 (Rev. 06'05) Sllret 3 - Supervised Rclease (Judgment in a Criminal Cascj
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Defendant:          ANTWON HALL                                                                                         Judgment - Page jot' (,
Case No. :          8:06-cr-349-'1'-30MAP
                                                            SUPERVISED RELEASE

     Upoil release from imprisonment, tlie clefeodant sliall be on supervisctl release for ;t term of' ICOUR (4)
YEARS :IS to Count Onc of' the Indictment.
            The defend:lnt must report t o the p r o b a t i o ~ loffice in [he district to which [he dckrlclant is rc1e:ised \c.ithin 72 hours 01' rcleasc
l1.0111 tllc custody ol' the Burcau of Prisons.

T h e defendant shall not c o n m i t another federal, state, o r local crime. T h e defendant sliall not unlan fully possess :I controlled substancu.
The defendant shall refrain from any u n l a w f ~ i luse o f a co~ltrolledsubstance. T h e defendan1 shall submit LO onc drug tcsl wilhin IS
days of' rclease I'~.omimprison~nentand at lcast t w o periodic drug tests Il~erealicr,as detc-~mincdby [he court.

          The defendant shall not possess n firearm, destructive device, o r any other dangerous n.u:q)on,

          Tlic del'endanl shall cooperate in the colleclion uf DNA as dircctcd by lhc p r o b a ~ i o noi'ficcr.


           Il' this judgment imposes a fine o r restitution it is a condition o f supervised release that the dclkndanl pay in a c c o r d ; w c wilh
           the Schedulc 01' Payments sheet o f this judgment.

           The defcnd:mt must c o ~ n p l ywith the standard conditions that l ~ v been
                                                                                   e    adopted by this tour[ 2s well ;IS with any nddirio~ial
           conditions o n 111~'at [ached page.

                                             STANDARD CONDITIONS OF SUPERVISION
           [he defendant shall not lcave the judicial district without the permission of the court or probation ofl'lccr;

           the defendant shall report to the probation officer and shall submit a trutliful and comple~c\vsitten r q o r t within rllc iisst fi\ c days of each
           month:

           tlic dcfcndunt sliall answcr tsutIifi~IIyall inquisics by h c robat at ion offices arid fbllo\v tlic i~is~suctions
                                                                                                                           of tlic prob;~rionol'ficcs;

           the defendant shall support his or hcr dependents and mcet other family responsibilities;

           [he defendant shall work regularly at a lawful occupalio~i,unless cxcuscd by tlic probalion offices for schooling, tr:lining, or otllcs
           acceptable reasons;

           the defendant shall notify the probation officcr at least lcn days prior to any change in ~widcncc01-employment;

           h c dcfmdant shall rclia~nfrom cxccssivc use of alcohol and shall not purcli~~sc,possess, use. distribute, or admin~s~cs
                                                                                                                                 a[-y cnntrollcd
           substancc. or any prlraphc~mliarelated to any controlled substances, exccpt as prcscnbcd b! a pliys~c~an:

           the defendant sliall not rrcquent places wlicl-c controllccl subs~ancesarc illegally sold, used, dislribulctl, or ndministcrcd;

           the defendant shall not associate with any persons engagcd in criminal activity and shall not associstc with any pcrson con\:ictcd of a
           felony. unlcss granted pc~~mission to do so by the probation officer;

           tlic dcfcndant sllsll permit a probation officcr to visit him or her at any timc at homc or clsc~vlicssancl shall permit conl'iscat~onu1'sn)
           contrdxuid obsen ed in plain view of the probation officcr;

                                                                                                        0s questionccl b) a law cnforcemcn~ol'riccs;
           the defendant shall notify the prob:~tionofficcr within scvcnty-two hours of being LII-I-cstccl

           thc defendant shall not enter into any agreement to act as an infor~i~cr
                                                                                 or a spccial agent of a law cnforccnicnt agency \\,ithour tlic
           permission of the court; and

           as directed by the psoba~ionofficcr, [he dcfcndant shall nolify third parties of risks that m:ly bc occr~sio~~cci
                                                                                                                         by thc dcfcndant's csim~~inl
                                                                                                                                                   sccord
           or personal history or characteristics and shall permit thc probation officcr to make such notifications and lo confirm thc dcfindanr's
           conlplrancc \\ ~ t hsuch notification rcquiremcnt.
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A 0 245B (Rev. 06105) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Ileindnnt :       A?ITWON I IALL
Case No.:         8:0G-cr-319-T-30MAP

                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendall shall also comply with the following additional conditions 01' supervised sclease:

-
X        The defendant shall cooperate in the collection of DNA as directcd by the probation officer.

-
S        The mnnd:~torydrug tcsring provisions shall apply pursuant to the Violcnt Crime Con~rolAct. The Co~l-1autllorizes I . ~ I K ! O I ~ I
         drug tesling 1101 to csceed 104 tests pcr year.
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A 0 2453 (Rev 06/05) Sheet 5 - Criminal Monetary Penalties ( J u d g m n t in a Criminal Casej
Defendant:          ANTWON HALL                                                                          Judgmcnt - Page 5 of 6
Case No. :          8:06-cr-349-T-30MAP

                                            CIUMINAL MONETARY PENALTIES

          The defendant must pay the total crinlirlal monetary penalties uildcr thc scllcdulc of pay ~ncutson Sheet 6.
                             Assessment                              Fine                        Tot:~lKestituiion

          Totals:


-         Thc determination o f sestitwtio~lis deferred I
          be entered after such determination.

-         The defendant must make restitution (including comnunity restitution) to thc follo wing payees in the amount lis tcd
          below.
          If the defendant lnakes a partial payment, each payee shall receive :in approxi~~latcly
                                                                                               psopostio~ledpayment, unlcss
          specified otherwise in the priority order or percentage pa lnent colunlll bulo\v. Howcvcs, pursuant to 18 G .S.C.
          3664(i), nll non-federal victims must be paid before the dnitcd Sra~es.


Name of Pavee                                    Total Loss*                   Rcstitut ion Ortlc~.ccl           I'rioritv or Percentage




                             Totals:             &-                            L
-         Restitution amount ordered pursuant to plea agreement $
-         The defendant lnust pay interest on a fine or restitution of more than $2,500, unless the restilution or fine is paid in 1'1111
          before the fifteenth day after the date of the judgment, pursuant to 1 8 U. S. C. 36 12(1). All of the paymcnL options on Sheet
          6 may be subjcct to penalties for delinquency and default, pursuant to 18 U.S.C. 6 36 12(g).

 -        The court determined that the defendant does not have the ability to pay intescsr :ind i t is ordescd that:
         -          the interest requirement is waived for the - fine           - restitution.

         -          the interest requirement for the - fine - restitution is rnoclified as I'ollows:


:fi Firitlings for the total amount of losses are required under Cha ters 100A, 1 10, 1 IOA, nncl 113A of Titic 18 for the offenses
commitmI on or after September 13. 1994, hut before April 23, 1896.
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A 0 245B (Rev 06/05) Sheet 6 - Scliedule ot' Payments (Judgment in a Cri~ninalCase)

Defendant:        ANTCVON IHALL
Case Lo.:         8:06-cr-349-T-30MAP



                                                   SCHEDULE OF PAYMENTS



1-lavil~gassessed the defendaor's ability to pay, payment of the total CI-imin:il1noncta1.ypenaltics are duc as follows:

                   Lump sum payment of $ 100.00 clue immediately, balance clue
                            -not later than                      ,   or
                            - in accoi-dance - C, - D, - E or - F below: 01-
                   Payment to begin immediately (may be combined with -C. - D,or -I; below); or
                  Payinent in equal                (e.g., weekly, monthly, quarterly) i~istallme~lts
                                                                                                  of $             over a
                  period of          (e.g., months or years), to cormnence            days (e.g., 30 or 60 days) after the
                  date of this judgment: or
                   Payment in equal                  (e.g.. weekly, monthly. quarterly) installlnents of $              over 3
                   period of
                                  , (e.g., months or years) to commence                     ( e . 30
                                                                                                  ~ or 60 clays) aftel- selease
                   from inlprisorlinent to a term of supervision; or
                   Payment during the term of supervised release will comlnence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the pay~uentplan based on an assessment ol'
                   the defendant's ability to pay at that time. or
                   Special instructions regarding the payment of crimiual monctary pc11:llties:




Unless the court has expressly ordered otherwise, if this judgment iinposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made tl~roughthe Fetler:~l
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The dcfenclant shall receive credit for all payments previously made toward any c ~ - i m i ~~llonet:iry
                                                                                             nl         penalties imposed
-         .Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including clet'endanr ~lu~nber),
                                                                                        Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-         The defendant shal 1 pay the cost of prosecution.
-         The defendant shal 1 pay the following court cost(s):
-         The defendant shal 1 forfeit the defendant's interest in the followi~~g
                                                                               psoperty to the United States:
        The Court orders that the defendant forfeit to the United States imlneclialely and voluntarilv any and all assets and
property. or portions thereof, subject to forfeiture. which are in the possession or control of the defendanr or thc
defendant's nominees.
P q mcnts shall be applied in thc following order: (1) assessment, (2) restitution principal, (3) scsti~utioninterest, (4) fine principal,
( 5 ) fine interest, (6) coimnunity restitution, (7) penalties, and (8) costs, including cost of' prosecution and courr costs.
